              Case 2:19-cv-00309-JCM-CWH Document 1 Filed 02/20/19 Page 1 of 6



 1                                 UNITED STATES DISTRICT COURT
                                      NEVADA DISTRICT COURT
 2                                      LAS VEGAS DIVISION
 3

 4

 5   ALICE PETE,                                          Case No.:
 6                    Plaintiff,
 7                                                        COMPLAINT AND JURY DEMAND
     vs.
 8
     USAA SAVINGS BANK,
 9
                      Defendant
10

11                                               COMPLAINT

12                    Plaintiff, ALICE PETE (“Plaintiff”), by and through her undersigned counsel,
13   hereby sues Defendant, USAA SAVINGS BANK (“Defendant”), alleging as follows:
14
                                              INTRODUCTION
15

16
           1. Plaintiff brings this action on behalf of herself individually seeking damages and any other

17
     available legal or equitable remedies resulting from the illegal actions of Defendant, in negligently,

18
     knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of the

19
     Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.
20
           2. The TCPA was legislated to prevent companies like USAA SAVINGS BANK from
21

22
     invading Americans’ privacy by stopping abusive “robo-calls.” The legislative history “described

23
     these calls as ‘the scourge of modern civilization, they wake us up in the morning; they interrupt

24
     our dinner at night; they force the sick and elderly out of bed; they hound us until we want to rip

25
     the telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
26
       intended to give telephone subscribers another option: telling the autodialers to simply stop
27

28
     calling.” Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255-56 (11th Cir. 2014).


                                                       -1-




                                            PLAINTIFF’S COMPLAINT
            Case 2:19-cv-00309-JCM-CWH Document 1 Filed 02/20/19 Page 2 of 6



 1                                   JURISDICTION AND VENUE
 2       3. Defendant has its principal place of business in the state of Nevada and therefore personal
 3
     jurisdiction is established.
 4
         4. Jurisdiction of this Court arises under 28 U.S.C. §1331 and 47 U.S.C. § 227(b)(3). See
 5

 6   Mims v. Arrow Financial Services, LLC, 565 U.S. 368 (2012) holding that federal and state courts

 7   have concurrent jurisdiction over private suits arising under the TCPA.

 8       5. Venue is proper in the United States District Court for the District of Nevada pursuant to
 9
     28 U.S.C § 1391(b)(1) because Defendant resides within this District.
10
                                                 PARTIES
11

12       6. Plaintiff is a natural person residing in El Paso County, in the city of El Paso, Texas, and

13   is otherwise sui juris.

14       7. Defendant is a Nevada corporation, doing business in the state of Texas, with its principal
15
     place of business located in Las Vegas, Nevada. Defendant is a “person” as defined by 47 U.S.C.
16
     §153 (39).
17

18       8. At all times relevant to this Complaint, Defendant has acted through its agents, employees,

19   officers, members, directors, heir, successors, assigns, principals, trustees, sureties, subrogees,

20   representatives and insurers.
21
                                       FACTUAL ALLEGATIONS
22
         9. Defendant placed collection calls to Plaintiff seeking and attempting to collect on alleged
23

24   debts incurred through purchases made on credit issued by Defendant.

25       10. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F.3d 1265
26
     (11th Cir. 2014).
27

28


                                                     -2-




                                          PLAINTIFF’S COMPLAINT
            Case 2:19-cv-00309-JCM-CWH Document 1 Filed 02/20/19 Page 3 of 6



 1       11. Defendant placed collection calls to Plaintiff’s cellular telephone at phone number (254)
 2
     XXX-9228.
 3
         12. Defendant placed collection calls to Plaintiff from various telephone numbers including,
 4
     but not limited to, (800) 531-8722, (800) 531-0378.
 5

 6       13. Upon information and belief, based on the number, frequency and timing of the calls, and

 7   on Defendant’s prior business practices, Defendant’s calls were placed with an automatic

 8   telephone dialing system.
 9
         14. Defendant used an “automatic telephone dialing system,” as defined by 47 U.S.C. §
10
     227(a)(1), to place telephone calls to Plaintiff seeking to collect a consumer debt allegedly owed
11

12   by Plaintiff.

13       15. Defendant’s calls were not for emergency purposes, which would be excepted by 47
14
     U.S.C. § 227(b)(1)(A).
15
         16. Defendant’s calls were placed to a telephone number assigned to a cellular telephone
16
     service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §227(b)(1).
17

18       17. Defendant never received Plaintiff’s “prior express consent” to receive calls using an

19   automatic telephone dialing system or an artificial or prerecorded voice on her cellular telephone
20
     pursuant to 47 U.S.C. § 227(b)(1)(A).
21
         18. On or about July 18, 2018, Plaintiff spoke with a representative of Defendant’s company
22
     at phone number (800) 531-8722 and told Defendant to stop calling her cellular telephone.
23

24       19. During the July 18, 2018 conversation, Plaintiff gave Defendant her full social security

25   number and cell-phone number along with two passcodes, in order to assist Defendant in

26   identifying her and accessing her accounts before asking Defendant to stop calling her cellular
27
     telephone.
28


                                                    -3-




                                          PLAINTIFF’S COMPLAINT
            Case 2:19-cv-00309-JCM-CWH Document 1 Filed 02/20/19 Page 4 of 6



 1      20. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her cellular telephone
 2   and/or to receive Defendant’s calls using an automatic telephone dialing system in her
 3
     conversation with Defendant’s representative on July 18, 2018.
 4
        21. Despite Plaintiff’s request to cease, Defendant continued to place calls to Plaintiff’s
 5

 6   cellular phone after July 18, 2018.

 7      22. Despite Plaintiff’s request that Defendant cease placing automated collection calls to

 8   Plaintiff via the use of an automatic telephone dialing system, Defendant continued to place at
 9
     least one hundred and ninety-three (115) telephone calls via the use of an automatic telephone
10
     dialing system to Plaintiff’s cellular telephone.
11

12      23. Defendant placed the great number of telephone calls to Plaintiff with the sole intention

13   of harassing Plaintiff in such a manner so as to cause Plaintiff to pay the alleged debt claimed by

14   Defendant, even when Plaintiff admittedly had impaired ability to pay. This telephonic harassment
15
     caused Plaintiff considerable anxiety and emotional distress.
16
                          FIRST CAUSE OF ACTION
17
     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
18                          - 47 U.S.C. §227(b)(3)(B)

19      24. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
20   forth above at Paragraphs 1-23.
21
        25. The foregoing acts and omissions of Defendant constitute numerous and multiple
22
     negligent violations of the TCPA, including but not limited to each and every one of the above
23

24   cited provisions of 47 U.S.C. § 227 et seq.

25      26. As a result of Defendant’s negligent violations of 47 U.S.C. §227 et seq., Plaintiff is

26   entitled to an award of $500.00 in statutory damages, for each and every violation, pursuant to 47
27
     U.S.C. § 227(b)(3)(B).
28


                                                         -4-




                                           PLAINTIFF’S COMPLAINT
            Case 2:19-cv-00309-JCM-CWH Document 1 Filed 02/20/19 Page 5 of 6



 1       27. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the future.
 2       WHEREFORE, Plaintiff, ALICE PETE, respectfully requests judgment be entered against
 3
     Defendant, USAA SAVINGS BANK, as follows:
 4
             a.          Awarding Plaintiff statutory damages of five hundred dollars ($500.00) multiplied
 5

 6   by the number of negligent violations of the TCPA alleged herein, to wit: one hundred fifteen

     (115) for a total of fifty-seven thousand five hundred dollars ($57,500.00);


 7           b.          Awarding Plaintiff actual damages and compensatory damages according to proof
 9
     at time of trial;
10
             c.          Granting Plaintiff such other and further relief as may be just and proper.
11

12                             SECOND CAUSE OF ACTION
                  KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
13                           CONSUMER PROTECTION ACT
                                  47 U.S.C. § 227(b)(3)(C)
14
         28. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
15

16
     forth above at Paragraphs 1-23.

17
         29. The above listed acts and omissions of Defendant constitute numerous and multiple

18
     knowing and/or willful violations of the TCPA, including but not limited to each and every one

19
     of the above cited provisions of 47 U.S.C. § 227 et seq.
20
          30. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,
21

22
     Plaintiff is entitled an award of one thousand five hundred dollars ($1,500.00) in statutory

23
     damages for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
24   227(b)(3)(C).
25
         31. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the future.
26
          WHEREFORE, Plaintiff, ALICE PETE, respectfully requests judgment be entered against
27

28
     Defendant, USAA SAVINGS BANK, as follows:


                                                         -5-



                                              PLAINTIFF’S COMPLAINT
             Case 2:19-cv-00309-JCM-CWH Document 1 Filed 02/20/19 Page 6 of 6



  1           a.          Awarding Plaintiff statutory damages of one thousand five hundred dollars
  2   ($1,500.00) multiplied by the number of knowing and/or willful violations of TCPA alleged
  3
herein, to wit: one hundred fifteen (115) for a total of one hundred seventy-two thousand five
  4
      hundred dollars ($172,500.00);
  5

  6           b.          Awarding Plaintiff actual damages and compensatory damages according to proof

  7   at time of trial;

  8           c.          Granting Plaintiff such other and further relief as may be just and proper.
  9
                                              JURY TRIAL DEMAND
 10
          Plaintiff demands a jury trial on all issues so triable.
 11

 12
      Dated: February 20, 2019
 13
                                                        RESPECTFULLY SUBMITTED,
 14
                                                        By:_/s/ Mathew Higbee
 15
                                                        Mathew Higbee
 16                                                     NV State Bar No. 11158
                                                        HIGBEE & ASSOCIATES
                                                        2445 Fire Mesa Street, Suite 150
                                                        Las Vegas, NV 89128
 18
                                                        Phone: 714-600-8085
 19                                                     Fax: 866-534-7049
                                                        Email: Mhigbee@higbeeassociates.com
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                                               PLAINTIFF’S COMPLAINT
